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                  IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF WEST VIRGINIA


  JEREMY GRAY,

             Petitioner,

  v.                                              Civil Action No. 5:06CV95
                                          (Criminal Action No. 5:05CR13-05)
  UNITED STATES OF AMERICA,                                         (STAMP)

             Respondent.


                           MEMORANDUM OPINION AND ORDER
                        AFFIRMING AND ADOPTING REPORT AND
                       RECOMMENDATION OF MAGISTRATE JUDGE

                        I.   Facts and Procedural History

        On June 15, 2005, the pro se1 petitioner, Jeremy Gray, pleaded

  guilty in the United States District Court for the Northern

  District of West Virginia to one count of aiding and abetting the

  distribution of cocaine base, in violation of 18 U.S.C. § 2 and 21

  U.S.C. §§ 841(a)(1) and 841(b)(1)(C).            On August 4, 2005, the

  petitioner     was     sentenced   to    235   months   of   imprisonment.

  Thereafter, the petitioner filed a motion under 28 U.S.C. § 2255 to

  vacate, set aside or correct sentence by a person in federal

  custody.   The government filed a response.

        The matter was referred to United States Magistrate Judge

  James E. Seibert for initial review and report and recommendation

  pursuant to Local Rule of Prisoner Litigation 83.15.             Magistrate

  Judge Seibert issued a report and recommendation recommending that



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        “Pro se” describes a person who represents himself in a court
  proceeding without the assistance of a lawyer.         Black’s Law
  Dictionary 1237 (7th ed. 1999).
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  the petitioner’s § 2255 application be denied because in his plea

  agreement, the petitioner knowingly, intelligently, and voluntarily

  waived the right to collaterally attack the conviction.                             The

  magistrate judge informed the parties that if they objected to any

  portion of the report and recommendation, they must file written

  objections within ten days after being served with copies of the

  report.     The time for objections has now passed, and no objections

  have been filed to date.               For the reasons set forth below, this

  Court     affirms    and   adopts       the       magistrate     judge’s   report   and

  recommendation in its entirety.

                                  III.    Applicable Law

           Pursuant to 28 U.S.C. § 636(b)(1)(C), this Court must conduct

  a   de    novo    review   of    any    portion       of   the   magistrate    judge’s

  recommendation to which objection is timely made.                          As to those

  portions of a recommendation to which no objection is made, a

  magistrate judge’s findings and recommendation will be upheld

  unless they are “clearly erroneous.”                  See Webb v. Califano, 468 F.

  Supp. 825 (E.D. Cal. 1979).              Because the petitioner did not file

  any objections, this Court reviews the report and recommendation

  for clear error.

                                    IV.    Discussion

           The petitioner states several grounds for relief in his § 2255

  petition.        Specifically, the petitioner contends: (1) he received

  ineffective assistance of counsel when his counsel failed to

  investigate facts and evidence before providing advice on the plea



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  agreement; (2) his counsel was ineffective because he failed to

  file   written      objections    to    the      petitioner’s    criminal   history

  calculation in the presentence report; and (3) the government

  wrongfully withheld Brady material.

         A defendant who enters into a plea agreement which contains a

  waiver of the right to collaterally attack a sentence is valid if

  the defendant knowingly and voluntarily waived those rights as part

  of the plea agreement.           United States v. Lemaster, 403 F.3d 216,

  220 (4th Cir. 2005).       Such a waiver is also valid where collateral

  attacks are based upon claims of ineffective assistance of counsel

  which do not implicate the validity of the plea or the validity of

  the § 2255 waiver, or which do not relate directly to the plea

  agreement or the waiver.           See Braxton v. United States, 358 F.

  Supp. 2d 497, 503 (W.D. Va. 2005).                  To determine the validity of

  a waiver of collateral-attack rights in a plea agreement, a court

  must examine the language of the waiver provision, the plea

  agreement as a whole, the plea colloquy, and the defendant’s

  ability to understand the proceedings. United States v. Blick, 408

  F.3d 162 (4th Cir. 2005).           A waiver of collateral-attack rights,

  however, does not apply to claims of ineffective assistance of

  counsel where the facts giving rise to the claim occurred after the

  defendant has entered a guilty plea.                 Lemaster, 403 F.3d at 732.

         Thus,   in    evaluating        the       validity   of   the   petitioner’s

  collateral challenge to his sentence under § 2255, this Court must

  determine whether the petitioner knowingly, intelligently, and



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  voluntarily    waived      the   right      to     collaterally    challenge     his

  sentence, and, insofar as the petitioner’s collateral attack is

  based upon ineffective assistance of counsel, whether the claims of

  ineffective assistance of counsel call into question the validity

  of the plea, the validity of the § 2255 waiver itself, or relate

  directly to the plea agreement or the waiver, and--if they do not--

  whether the events giving rise to the claim occurred before,

  during, or after the petitioner entered his guilty plea.

        Based upon the waiver provision itself, the plea agreement as

  a whole, the plea colloquy, and the applicable law, Magistrate

  Judge Seibert recommended that the petitioner’s § 2255 petition be

  denied    because   the     petitioner          knowingly,   intelligently,      and

  voluntarily waived the right to collaterally attack his sentence

  when he pleaded guilty to Count Sixteen of the indictment charging

  him with aiding and abetting the distribution of cocaine base and--

  to the extent that the petitioner alleges ineffective assistance of

  counsel--because     the    facts      he       alleges   constitute   ineffective

  assistance of counsel occurred before he entered his plea of

  guilty.     Specifically,        the    magistrate        judge   found   that   the

  petitioner signed a plea agreement on May 27, 2005, which stated

  that he “waives his right to challenge his sentence or the manner

  in which it was determined in any collateral attack, including but

  not limited to, a motion brought under Title 28, United States

  Code, Section 2255 (habeas corpus), where the sentence is 235




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  months or less.”2               The magistrate judge also found that the

  petitioner, who was twenty-six years old and had completed the

  tenth       grade,    pleaded     guilty    in     open   court     and    specifically

  confirmed that he understood the waiver of his appellate and post-

  conviction rights.            The magistrate judge further found that the

  petitioner testified that no one had coerced him into pleading

  guilty or had made any promises to him other than those contained

  in   the      plea    agreement    and     that    his    attorney    had    adequately

  represented          him,    leaving    nothing     undone    that    the    petitioner

  believed should have been done.                   Finally, the magistrate judge

  found that the petitioner admitted that he had, in fact, committed

  the crime to which he was pleading guilty.

          Having        reviewed     the     magistrate         judge’s       report   and

  recommendation for clear error and finding none, this Court agrees

  that        because    the     petitioner        knowingly,     intelligently,       and

  voluntarily waived the right to collaterally attack his conviction

  and because that the facts giving rise to the petitioner’s claims

  of ineffective assistance of counsel occurred before he entered his

  guilty plea, the petitioner’s application for habeas corpus relief

  pursuant to § 2255 must be denied.

                                     V.    Conclusion

          Because       neither    party     has    objected     to    the    report   and

  recommendation of the magistrate judge, and because this Court



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        The plea agreement was accepted and filed by this Court on
  June 15, 2005.

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  finds that the magistrate judge’s recommendation is not clearly

  erroneous, the ruling of the magistrate judge is hereby AFFIRMED

  and ADOPTED in its entirety.       Accordingly, the petitioner’s motion

  to vacate, set aside or correct sentence pursuant to 28 U.S.C.

  § 2255 is DENIED.     It is further ORDERED that this civil action be

  DISMISSED and STRICKEN from the active docket of this Court.

        Moreover, this Court finds that the petitioner was properly

  advised by the magistrate judge that failure to timely object to

  the report and recommendation in this action will result in a

  waiver of appellate rights.         Thus, the petitioner’s failure to

  object    to   the    magistrate     judge’s    proposed    findings     and

  recommendation bars the petitioner from appealing the judgment of

  this Court. See 18 U.S.C. § 636(b)(1); Wright v. Collins, 766 F.2d

  841, 845 (4th Cir. 1985); Thomas v. Arn, 474 U.S. 140 (1985).

        IT IS SO ORDERED.

        The Clerk is DIRECTED to transmit a copy of this memorandum

  opinion and order to the pro se petitioner by certified mail and to

  counsel of record herein.          Pursuant to Federal Rule of Civil

  Procedure 58, the Clerk is DIRECTED to enter judgment on this

  matter.

        DATED:     June 3, 2009



                                     /s/ Frederick P. Stamp, Jr.
                                     FREDERICK P. STAMP, JR.
                                     UNITED STATES DISTRICT JUDGE




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